ERIC E. CHANDLER and PEGGY K. De VRIES, f.k.a. PEGGY K. CHANDLER, Petitioners, v. COMMISSIONER OF INTERNAL REVENUE, Respondent.Chandler v. Comm'rDocket No. 22599-86United States Tax Court2013 U.S. Tax Ct. LEXIS 48; March 26, 2013, DecidedChandler v. Commissioner, T.C. Memo 1991-425"&gt;T.C. Memo 1991-425, 1991 Tax Ct. Memo LEXIS 474"&gt;1991 Tax Ct. Memo LEXIS 474 (T.C., 1991)*48 Petitioner, Pro se.For Respondent: D. Anthony (Tony) Abernathy, Honolulu, HI.John O. Colvin, Chief Judge.John O. ColvinDECISIONPursuant to the stipulations filed in the above-entitled case, and the determinations of the Court as set forth in its opinions filed March 30, 1999 (Dixon v. Commissioner, T.C. Memo 1999-101"&gt;T.C. Memo 1999-101), March 31, 2000 (Dixon v. Commissioner, T.C. Memo. 2000-116), May 2, 2006 (Dixon v. Commissioner, T.C. Memo 2006-90"&gt;T.C. Memo 2006-90), and September 7, 2006 (Dixon v. Commissioner, T.C. Memo 2006-190"&gt;T.C. Memo 2006-190), and incorporating herein the facts stipulated by the parties as the findings of the Court, it isORDERED AND DECIDED: That the following deficiency in income tax and penalties are due from petitioners, before application of I.R.C. § 6015(b):DeficienciesAdditions to Tax/PenaltiesPursuant to I.R.C §§YearIncome Tax6653(a)(1)6653(a)(2)66616621(c)/(d)1982$11,622.00NoneNoneNoneNoneThat the following deficiency in income tax and penalties are due from petitioners, after application of I.R.C. § 6015(b):DeficienciesAdditions to Tax/PenaltiesPursuant to I.R.C §§YearIncome Tax6653(a)(1)6653(a)(2)66616621(c)/(d)1982NoneNoneNoneNoneNoneAdditional Amount Due from Eric E. ChandlerAdditions to Tax/PenaltiesPursuant to I.R.C §§YearIncome Tax6653(a)(1)6653(a)(2)66616621(c)/(d)1982$11,622.00NoneNoneNoneNoneThat there is no overpayment in income tax due to petitioners for the taxable year 1982;That pursuant*49  to the Stipulation of Agreed Adjustments filed on October 21, 1988, and the Stipulation of Settled Issues As To Petitioner Peggy K. Chandler filed on February 14, 1994, a tax deficiency for the 1982 tax year was assessed on the Non-Master File against petitioner Peggy K. De Vries (formerly Chandler) in the amount of $25,722.00 on May 13, 1994; that respondent subsequently determined, by Final Notice dated September 11, 2002, that petitioner Peggy K. De Vries is entitled to relief of liability for the understatement of tax as an innocent spouse under I.R.C. § 6015(b); and that as a result of that determination, the respondent abated, as to Peggy K. De Vries, the following: on June 24, 2003, for the 1982 tax year, respondent abated $16,502.00 of assessed tax as well as interest that had been assessed on the tax deficiency amount of $25,722.00; and an abatement of $9,219.27 of assessed tax for the 1982 tax year is pending;That petitioners are not entitled to an award of litigation costs under I.R.C. § 7430, except as otherwise ordered by the Court; andThat interest will be assessed as provided by law on the deficiency due from petitioner Eric E. Chandler for the taxable year 1982, but that no interest shall accrue*50  during the period from May 14, 1992, through September 13, 2007./s/ John O. ColvinChief JudgeEntered: MAR 26 2013